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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JUAN IGARTUA, on behalf of himself and
all others similarly situated,                         Case No.: 1:24-cv-07955-AT

                    Plaintiff,
                                                       MOTION FOR DEFAULT
               v.
                                                       JUDGMENT AND
BRECKEN GOLD ATHLETICS NYC                             PERMANENT INJUNCTION
LLC,

                     Defendant.



       PLEASE TAKE NOTICE that Plaintiff Juan Igartua, pursuant to Federal Rules

of Civil Procedure 55(b) moves this Court for a default judgment and permanent

injunction against Defendant, Brecken Gold Athletics LLC. The grounds for this motion

are set forth in the accompanying Affirmation in Support and Memorandum of Law.

                                                  Respectfully,

                                                  Joseph & Norinsberg, LLC




                                                  _______________________
                                                  Arjeta Albani, Esq.
                                                  Joseph & Norinsberg, LLC
                                                  Attorney for Plaintiff
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Dated: March 21, 2025
       New York, New York
